®AD245B (Rev. 06/05) Judgmentin a Criminal Case

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Sheet t
AAS UNITED STATES DISTRICT COURT
| EASTERN District of PENNSYLVANIA
| UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.
; Fit Case Number: DPAE?:09CRO00687-001
' NORMA NAY a/k/a Norma Nay Acosta Ep USM Number: 61571-066

3 2012 Elhott CohenEsq.

 

agialal E KUNZ Detendant’s Attorney

Clerk

THE DEFENDANT: ms ap Ott

|
X pleaded guilty to count(s) _1, 2, 3, 4

LJ pleaded nolo contendere to count(s)

 

which was accepted by the court.

L] was found guilty on count(s)

 

iy

fter a plea of not guilty.

The|defendant is adjudicated guilty of these offenses:

Tithe & Section Nature of Offense Offense Ended Count
18 WSC § 286 Conspiracy to defraud the government with respect to claims 4/6/09 1
18 WSC § 287 and 2 False claim and aiding & abetting 4/6/09 2
18 WSC & 1349 Conspiracy to commit mail fraud 4/6/09 3
18 WSC § 1341 and 2 Mail fraud and aiding & abetting 4/6/10 4
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s)

 

L] dount(s) L] is [] are dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 daws of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

1/13/12 Z\

Date of Imposj Cy
Sigefature of Judge iy

LQ Michacl M. Baylson, U.5.D.0 1.
Name and Title of Judge

Asha

Date } \

 

 
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AOW5B (Rev. 06/05) Judgment in Crrmnal Case
Sheet 2 — Imprisonment

fudgment — Page 2 of

 

DHFENDANT: NORMA NAY a/k/a Norma Nay Acosta
CASE NUMBER: DPAE2:09CR000687-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Tithe served

L] The court makes the following recommendations to the Bureau of Prisons:

X The defendant is remanded to the custody of the United States Marshal.

(1 +The defendant shall surrender to the United States Marshal for this district:

Cla (J) am CJ pm on

 

[1 as notified by the United States Marshal.

(] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 2 p.m. on of the institute by the Bureau of Prisons to that institute.

 

LJ as notified by the United States Marshal.

L} as notified by the Probation or Pretrial Services Office.

6

 

 

 

RETURN
I hdve executed this judgment as follows:
Defendant delivered to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AQ245B (Rev. 06/05) Judgment in a Criminal Case

DEF ENDANT: NORMA NAY a/k/a Norma Nay Acosta

Sheet 3. Supervised Release
Judgment—Page 3 of 6

 

CASE NUMBER: DPAE2:09CR000687-001

SUPERVISED RELEASE

Upbn release from imprisonment, the defendant shall be on supervised release for a term of;

5 ykars, consisting of 3 years on each of Counts 1 and 2 and 5 years on each of Counts 3 and 4, to run concurrently

- The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custedy of the Bureau of Prisons.

Th¢ defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
subsiance. The defendant shall submit to one drug test within 15 days of reiease from imprisonment and at least two periodic drug tests
thefeafter, as determined by the court.

ao.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)

x
x
oO:

The defendant shail not possess a firearm, ammunition, destnictive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a

student, as directed by the probation officer. (Check, if applicable.)

Oo

ScHe

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

{f this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

dule of Payments sheet of this judgment.

_ The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

HM)
12)

13)

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities:

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:

the defendant shall not associate with any persons engaged in criminal activity and shall] not associate with any person convicted ofa
felony, unless granted permission to do so by the probation officer;

the defendant shall permut a probation officer to visit him or her at any time al home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer,

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

the defendant shall not enter inte any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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Sheet 34 — Supervised Release
Judgment—Page 4 of 6

 

DEFENDANT: NORMA NAY a/k/a Norma Nay Acosta
CASE NUMBER: DPAE2:09CR000687-601

ADDITIONAL SUPERVISED RELEASE TERMS

The defendant is to be confined to her residence for a period of sixty days, without electronic monitoring, commencing at the
dirgction of the US Probation Office. The defendant shall be required to be at this residence at all times except for approved
abgences for gainful employment, community service, religious services, medical care, educational or training programs, and
at other such times as ma be specifically authorized by the US Probation Office. The defendant shall permit the probation
officer access to the residence at al] times and maintain a telephone at the residence without any custom services or portable,
cordless equipment. The defendant shall comply with any other specific conditions of home confinement as the probation
officer requires.

The defendant shall provide the US Probation Office with full disclosure of his financial records to include yearly income tax
retums upon the request of the US Probation Office. The defendant shall cooperate with the probation officer in the
investigation of his financial dealmgs and shall provide truthful statements of his income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval
of the probation officer, unless the defendant ts in compliance with a payment schedule for any fine or restitution obligation.
The defendant shall not encumber or liquidate interest in any assets unless it is in direct service of the fine or restitution
obligation or otherwise has the express approval of the Court.

The defendant is to refrain from any employment providing her with access to, control of, or discretion over, customer or
employee personal identifying information or financial accounts.

The defendant shall continue cooperation with the government upon request.
The defendant shall not be a tax preparer for any other individuals.

The defendant shall surrender her Public Notary commission and never seek reinstatement thereof, nor seek in any manner 0
be licensed by the Commonweaith of Pennsylvania to issue vehicle license plates, titles and registrations.
see Sheet 3 cristae EnesG¥euls@U687-MMB Document 67 Filed 01/13/12 Page 5 of 6

 

Sheet 5 — Cri
/ Judgment — Page 5 of 6
DEFENDANT: NORMA NAY a/k/a Norma Nay Acosta
CASE NUMBER: DPAE2:09CR000687-001

CRIMINAL MONETARY PENALTIES

’ The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

: Assessment Fine Restitution
TOTALS $ 400.00 3 $ 141,963.82

a . The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AQ 245C) will be entered
after such determination.

(1: The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

' If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
_ the priority order or percentage payment column below. However, pursuant to 18 LFS) *. § 3664(4), all nonfederal victims must be paid

’ before the United States is paid.

Nah ne of Payee Total Loss* Restitution Ordered Priority or Percentage
Internal Revenue Service 141,963.82

c/olClerk, US District Court

TOTALS $ 0 $ 141963.82

{J : Restitution amount ordered pursuant to plea agreement $

O : The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
, fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options an Sheet 6 may be subject
' ta penalties for delinquency and default, pursuant to 18 U.S.C. § 3612¢g).

xX The court determined that the defendant does not have the ability to pay interest and it is ordered that:
- X__ the interest requirement is waived for the LJ fine X= restitution.

(the interest requirement for the L] fine [7 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnil 23, 1996,
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Sheet 6 — Schedule oF Payments
DEFENDANT: NORMA NAY a/k/a Norma Nay Acosta
CASE NUMBER: DPAE2:09CRO000687-001

Judgment —— Page 6 of 6

 

SCHEDULE OF PAYMENTS

Ilaving assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lumpsumpaymentof$ — 142,363.82 due immediately, balance due

 

CL} not later than , or
X ~~ in accordance Oc OF DBD, O Evo X F below; or

B (1 Payment to begin immediately (may be combined with ([C, CL) D,or (JF below); or

C (J Payment in equal (e.g., weekly, monthly, quarterly} installments of $ over a period of
{e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (2 Payment during the term of supervised release will commence within (e.g., 30 or 60 duys) after release from
imprisonment. The court wili set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

Fo X Special instructions regarding the payment of criminal monetary penalties:

The defendant shall make quarterly restitution payments of $9,000 commencing April 13, 2012.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
ynrisonmen All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Regponsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[)° Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
’ and corresponding payee, if appropriate.

[) The defendant shall pay the cost of prosecution.
1 The defendant shall pay the following court cost(s):

O The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7} penalties, and (8) costs, including cost of prosecution and court costs.
